                                      Case 18-17927              Doc 1        Filed 06/12/18           Page 1 of 11

Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF MARYLAND

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                WW Contractors, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  115 West Mulberry St.                                           POB 597
                                  Baltimore, MD 21201                                             Randallstown, MD 21133
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Baltimore City                                                  Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.wwcontractors.com


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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Debtor    WW Contractors, Inc.                                                                         Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

                                          Chapter 11. Check all that apply:
                                                                 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                When                                  Case number
                                                  District                                When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                                    Relationship
                                                  District                                When                              Case number, if known




Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
                                     Case 18-17927                 Doc 1        Filed 06/12/18            Page 3 of 11
Debtor   WW Contractors, Inc.                                                                      Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.

                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.


14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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Debtor    WW Contractors, Inc.                                                                     Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      June 12, 2018
                                                  MM / DD / YYYY


                             X   /s/ Warren Wiggins                                                       Warren Wiggins
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   President




18. Signature of attorney    X   /s/ Jeffrey M. Sirody                                                     Date June 12, 2018
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Jeffrey M. Sirody 11715
                                 Printed name

                                 Jeffrey M. Sirody and Associates
                                 Firm name

                                 1777 Reisterstown Road
                                 Suite 360 East
                                 Pikesville, MD 21208
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     410-415-0445                  Email address      smeyers5@hotmail.com

                                 11715 MD
                                 Bar number and State




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                                CORPORATE RESOLUTION


               I, Warren Wiggins, President of WW Contractors, Inc., hereby certify that on the
12th day of June, 2018 a meeting was held and it was determined that it is was in the best interest
of WW Contractors to file a Chapter 11 Bankruptcy.




Dated: June 12, 2018                               /s/ Warren Wiggins
                                                  Warren Wiggins, President
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 Fill in this information to identify the case:
 Debtor name WW Contractors, Inc.
 United States Bankruptcy Court for the: DISTRICT OF MARYLAND                                                                                         Check if this is an

 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 American Express                                                credit card                                                                                            $484,000.00
 Po Box 297871
 Fort Lauderdale, FL
 33329
 BMW Financial                                                   2017 BMW 750i                                      $143,075.00                        $0.00            $143,075.00
 Services
 PO Box 78066
 Phoenix, AZ
 85062-8066
 BMW Financial                                                   2017 BMW 330i                                       $47,044.00                        $0.00              $47,044.00
 Services
 PO Box 78066
 Phoenix, AZ
 85062-8066
 BMW Financial                                                   2016 328i                                           $41,319.00                        $0.00              $41,319.00
 Services
 PO Box 78066
 Phoenix, AZ
 85062-8066
 Business Merchant                                               business loan                                                                                          $187,375.00
 Funding
 3301 N. University
 Drive, Suite 300
 Pompano Beach, FL
 33065
 Empire Funding                                                  loan                                                                                                     $38,000.00
 505 Park Avenue
 Baltimore, MD 21201
 Everest Business                                                                                                                                                         $99,666.00
 Funding
 2001 NW 107 Ave
 Miami, FL 33172
 First National Bank                                             line of credit                                                                                       $2,996,067.00
 4140 East State St.
 Hermitage, PA
 16148



Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor    WW Contractors, Inc.                                                                               Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 First National Bank                                             term loan                                                                                              $449,930.00
 4140 East State St.
 Hermitage, PA
 16148
 First National Bank                                             credit card                                                                                            $435,000.00
 4140 East State St.
 Hermitage, PA
 16148
 Forward Financing                                               Business loan                                                                                          $229,643.00
 36 Bromfield Street
 Boston, MA 02108
 HOP Capital                                                     business loan                                                                                          $187,375.00
 2591 Krameria
 Street
 Denver, CO 80207
 ML Factors                                                      loan                                                                                                   $130,000.00
 428 Central Ave Fl 2,
 Cedarhurst, NY
 11516
 Payroll Funding LLC                                             business debt                                                                                          $100,000.00
 10785 W. Twain
 Avenue, Suite 200
 Las Vegas, NV
 89135
 PBS Capital                                                     loan                                                                                                   $140,000.00
 15851 North Dallas
 Parkway Ste 210
 Addison, TX 75001
 PBS Capital                                                     Business loan                                                                                          $379,751.00
 15851 North Dallas
 Parkway Ste 210
 Addison, TX 75001
 Saturn Funding                                                  loan                                                                                                   $146,000.00
 1322 Manning Pkwy
 Powell, OH 43065




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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                                                               United States Bankruptcy Court
                                                                      District of Maryland
 In re      WW Contractors, Inc.                                                                    Case No.
                                                                                Debtor(s)           Chapter    11




                                               VERIFICATION OF CREDITOR MATRIX


I, the President of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to

the best of my knowledge.




 Date:       June 12, 2018                                           /s/ Warren Wiggins
                                                                     Warren Wiggins/President
                                                                     Signer/Title




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          American Express
          Po Box 297871
          Fort Lauderdale, FL 33329


          BMW Financial Services
          PO Box 78066
          Phoenix, AZ 85062-8066


          Business Merchant Funding
          3301 N. University Drive, Suite 300
          Pompano Beach, FL 33065


          Comptroller of Maryland
          Revenue Admins Division
          Annapolis, MD 21411


          Empire Funding
          505 Park Avenue
          Baltimore, MD 21201


          Everest Business Funding
          2001 NW 107 Ave
          Miami, FL 33172


          First National Bank
          4140 East State St.
          Hermitage, PA 16148


          Forward Financing
          36 Bromfield Street
          Boston, MA 02108


          HOP Capital
          2591 Krameria Street
          Denver, CO 80207


          Internal Revenue Service
          PO Box 7346
          Philadelphia, PA 19101-7346


          ML Factors
          428 Central Ave Fl 2,
          Cedarhurst, NY 11516
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      Payroll Funding LLC
      10785 W. Twain Avenue, Suite 200
      Las Vegas, NV 89135


      PBS Capital
      15851 North Dallas Parkway Ste 210
      Addison, TX 75001


      Saturn Funding
      1322 Manning Pkwy
      Powell, OH 43065


      Warren Wiggins
      3605 Garth Manor Ct.
      Woodstock, MD 21163


      Washington Redskins
      Headquarters
      21300 Redskin Park Dr
      Ashburn, VA 20147
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                                                               United States Bankruptcy Court
                                                                        District of Maryland
 In re      WW Contractors, Inc.                                                                         Case No.
                                                                                 Debtor(s)               Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for WW Contractors, Inc. in the above captioned action, certifies that the following is a
(are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



    None [Check if applicable]




 June 12, 2018                                                       /s/ Jeffrey M. Sirody
 Date                                                                Jeffrey M. Sirody 11715
                                                                     Signature of Attorney or Litigant
                                                                     Counsel for WW Contractors, Inc.
                                                                     Jeffrey M. Sirody and Associates
                                                                     1777 Reisterstown Road
                                                                     Suite 360 East
                                                                     Pikesville, MD 21208
                                                                     410-415-0445 Fax:410-415-0744
                                                                     smeyers5@hotmail.com




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